       Case: 1:20-cv-02485-PAG Doc #: 1-2 Filed: 11/03/20 1 of 15. PageID #: 8

                           GEAUGA COUNTY
                     COURT OF COMMON PLEAS
                DENISE M. KAlVIlNSKI, CLERK OF COURTS
               COURTHOUSE - 100 SHORT COURT - SUITE 300
                          CFL4RDON, OH 44024

                                              SUMMONS
                                                                                    CERTIFIED MAIL
                                                                           JUDGE CAROLYN J PASCHKE
                                                                             CASE NUMBER: 20M000547
PLAINTIFF(S) :
      RAMUTIS GUNTRAM KIPARSKIS
      17750 GAR HWY
      MONTVILLE, OH 44064

                                                      VS
DEFENDANT(S) :
     ENVIROTEST SYSTEMS CORP
     VIA REGISTERED AGENT
     CORPORATION SERVICE COMPANY
     50 WEST BROAD STREET SUITE 1330
     COLUMBUS, OH 43215

TO THE ABOVE NAMED DEFENDANT:
        You are hereby summoned that a complaint (a copy of which is hereto attached and made a part
hereof) has been filed against you in this court by the plaintiff(s) named herein.
        You are required to serve upon the plaintiffs attorney, or upon the.plaintiff(s) if one has no attorney
of record, a copy of your answer to the complaint within 28 days after said service of this summons upon
you, exclusive of the day of service. Said answer must be filed with this court within three days after service
on Plaintiffs Attorney.

The name and address of the plaintiff s attorney is as follows:

BRADLEY LEVINE
VOUDRIS LAW
8401 CHAGRIN RD SUITE 8
CHAGRIN FALLS, OH 44023

      If you fail to appear and defend, judgment by default will be taken against you for the relief
demanded in the complaint.

DENISE M KAMINSKI, CLERK OF COURT


~~re
CHLOE PORTER, DEPUTY CLERK

Dated 10/1/2020




                                                summon
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                                        DENISE M. KAMINSKI
                                               Geauga County Clerk of Courts

                                      Legal Office                     Title Office
                                100 Short Court Ste. 300          470 Center St. Bldg, 8
                                 Chardon, Ohio 44024              Chardon, Ohio 44024




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GEAUGA COUNTY CLERK OF COURTS Case: 20M000547, eFile ID: 38375,
FILED: PASCNKE, CAROLYN J 09/04/2020 11:39 AM



                                       IN THE COURT OF COMMON PLEAS
                                            GEAUGA COUNTY, OHIO

          RAMUTIS GUNTRAM KIPARSKIS
          17750 G.A.R. Hwy.
          Montville, OH 44064

                          Plaintiff,

                 u

          ENVIROTEST SYSTEMS CORP,                             COMPLAINT FOR RETALIATION IN
          2180 Pinnacle Pkwy.                                  VIOLATION OF THE OHIO
          Twinsburg, OH 44087                                  WHISTLEBLOWER ACT, WRONGFUL
                                                               DISCHARGE, NEGLIGENT TRAINING
                          Defendant.                           RETENTION & SUPERVISION, AND
                                                               DAMAGES FOR A CRIMINAL ACT



                                                               JURY DEMAND ENDORSED HEREON

                 Plaintiff Ramutis Guntram Kiparskis ("Plaintiff") alleges as follows for his Complaint

          against Defendant Envirotest Systems Corp. ("Defendant"):

                          1. Plaintiff worked for Defendant under the name "Guntram Von Kiparski."

                          2_ Plaintiff legally changed his name to "Ramutus Guntram Kiparskis" on

             August 25, 2020_

                          3. Defendant is a foreign corporation, doing business in Geauga County, Ohio.

                          4. Defendant's Ohio principal place of business is in TwinsbLirg, Ohio.

                          5. Dino Righi ("Righi") is the General Manager at Defendant and he supervised

             Plaintiff.

                          6. Jane Pickett ("Pickett") is the Quality Control Supervisor/District Manager at

             Defendant and she supervised Plaintiff.
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           7. Defendant was an employer of Plaintiff.

           8. Defendant employed Plaintiff as RSD Operator II in Geauga County, Ohio.

           9. Defendant facilitates vehicle emissions testing at e-check stations in Ohio.

           10. In April 2019, Plaintiff inet with Righi. During this meeting, Righi asked if

Plaintiff had any conceins about Defendant. Plaintiff orally complained to Righi that the

ventilation at e-check stations was not sufficient to protect employees from dangerous carbon

inonoxide emissions.

           11. In June 2019, Tiffany Leavy ("Leavy"), an Assistant Station Manager, died.

           12. Plaintiff reasonably believed that Leavy had died from complications due to

her asthma after breathing unsafe carbon monoxide emissions at Defendant's e-check station

in Euclid, Ohio.

           13. On July 18, 2019, Plaintiff emailed Righi and Pickett= "[Leavy's] early death

seems to have resulted from an asthina attack. Many in East Cleveland and surroundings are

afflicted with asthma, which is thought to be strongly associated and certainly exacerbated by

vehicular air pollution."

           14. In or about August 2019, Plaintiff again complained about the dangerous

carbon monoxide einissions to Pickett. In response, Pickett advised Plaintiff to simply "ran

the fans" to clear out the dangerous carbon monoxide emissions from the breathable

atinosphere of eniployees. When Plaintiff expressed his opinion that running the fans would

be insufficient to protect employees from danger, Pickett dismissed Kiparski froin the

meeting.




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           15. Leavy's death, combined with Pickett's disregard for Plaintiff's safety

concern, coinpelled Plaintiff to investigate the CO meters and exposure levels of carbon

monoxide at the e-check stations where he worked in December 2019,

           16. Plaintiff observed that the CO meters were outdated and were not properly

reflecting that carbon inonoxide emissions were exceeding safety levels for the breathable

atmosphere of employees.

           17. Defendant's failure to maintain functional CO meters at e-check stations that

properly reflected safe carbon monoxide emissions in the breathable atmosphere of

employees was a serious and willful criminal violation under Ohio Revised Code Chapter

3704.

           18. Plaintiff reasonably believed that Defendant's violation was a criininal offense

under 29 U.S.C. Section 666 or Ohio Revised Code Section 3704.99 and that Defendant's

violation had caused the death of Leavy and was likely to cause an imminent risk of physical

harm to persons, a hazard to public health or safety, or a felony.

           19. Plaintiff's oral and written complaints to Defendant provided sufficient detail

to identify and describe the violation; however, Defendant failed to correct the violation or

inake a reasonable and good faith effort to correct the violation within twenty-four hours of

Plaintiff's complaints.

           20. On March 4, 2020, Plaintiff submitted a written coinplaint to OSHA regarding

dangerous carbon monoxide einissions at Defendant.

           21. An OSHA investigator visited Defendant's facilities in response to Plaintiff's

complaint, but OSHA did not find conclusively at that point in time that there were


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dangerous carbon monoxide emissions because by then Envirotest had reduced "dynamic"

einissions tests in coinpliance with the EPA. Additionally, OSHA could not coinplete a full

investigation of the dangerous carbon monoxide emissions at that time due to the impact of

COVID-19.

           22. On March 13, 2020, Plaintiff took a medical leave of absence from work to

recover from COVID-19.

           23_ On April 1, 2020, Plaintiff called Righi on the phone about returning to work.

           24. Righi communicated Defendant's decision to terminate Plaintiff's

employment during the phone call based on the pretext that Defendant had "revised staffing

plans." However, Plaintiff explained to Righi that Defendant's contract with the EPA

required Defendant to employ two RSD Operators. Righi then referenced the OSHA

investigation as the basis for Defendant's termination decision by tnentioning to Plaintiff that

his position was allegedly no longer necessary since Defendant had reduced "dynamic"

emissions tests.

           25. Righi also warned Plaintiff not to complain to the EPA.

           26. On June 8, 2020, OSHA sent a letter to Defendant with OSHA's determination

that Defendant had, in fact, violated OSHA based on Plaintiff's complaint.

           27. Defendant terininated Plaintiff in retaliation for his written and oral

complaints about dangerous carbon monoxide emissions.

           28. This Court has subject matter and personal jurisdiction over the claims raised

in this Cornplaint.

           29. Venue is proper in Geauga County, Ohio.


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             30. Plaintiff has suffered damages in excess of $25,000.

             31. Plaintiff has hired the undersigned counsel and has agreed to pay them

reasonable attorney's fees and costs if they are successful on one or more of the claims set

forth herein.

                            COUNTI
    RETALIATION IN VIOLATION OF THE OHIO WHISTLEBLOWER ACT

             32. Plaintiffre-alleges each allegation set forth in paragraphs 1 to 31 above.

             33.In violation of Ohio Revised Code Section 4113.52, Defendant retaliated

against Plaintiff in violation of the Ohio Whistleblower Act.

             34. While working for Defendant, Plaintiff became aware of criminal violations,

and Plaintiff reasonably believed that the violations were a criininal offense that was likely to

cause an imminent risk of physical harin to persons, a hazard to public health or safety, or a

felony.

             35. Plaintiff complained about the violation orally and in writing to a supervisor

or other responsible officer of the einployer with sufficient detail to identify and describe the

violation.

             36. Plaintiff engaged in protected activity under Ohio Revised Code Section

4113.52.

             37. Plaintiff suffered an adverse employment action when Defendant terminated

Plaintiff.

             38. There is a causal connection between Plaintiff's protected activity and

termination.



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             39. Plaintiff has been dainaged by Defendant's conduct.

                                     COUNT II
                                WRONGFUL DISCHARGE

             40. Plaintiff re-alleges each allegation set forth in paragraphs 1 to 39 above.

             41. A clear public policy prohibiting retaliation in violation of the Ohio

Whistleblower Act exists in Ohio Revised Code Section 4113.52.

             42. A clear public policy prohibiting a violation of air pollution exists in Ohio

Revised Code Chapter 3704 and in 29 U.S.C. Sections 660 and 666.

             43. Peniiitting Plaintiff's tennination places in jeopardy the clear public policies

set forth in Ohio Revised Code Sections 3704 and 4113.52, and 29 U.S.C. Sections 660 and

...

             44_ Defendant's termination of Plaintiff was related to the clear public policies set

forth in Ohio Revised Code Section 3704 and 4113.52, and 29 U.S.C. Sections 660 and 666.

             45. Defendant lacked an overriding business justification for the discharge of

Plaintiff.

             46. Plaintiff has been damaged by Defendant's wrongful discharge.

             47. Defendant's wrongful discharge is the cause of Plaintiff's damages.

             48. Defendant acted with actual malice, entitling Plaintiff to punitive damages and

attorney's fees and costs.

                                       COUNT III
                      NEGLIGENT TRAINING, RETENTION & SUPERVISION

             49. Plaintiff re-alleges each allegation set forth in paragraphs 1 to 48 above.




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           50. Defendant had a duty to use due care in training, retaining, and supervising

Righi and Pickett.

           51. Defendant breached its duty to use due care in training, retaining, and

supervising Righi and Pickett.

           52. Plaintiff has been dainaged by Defendant's failure to use due care.

           53. Defendant's conduct is the cause of Plaintiff's damages.

                                      COUNT IV
                      CIVILACTION FOR DAMAGES FOR CRIMINALACT

           54. Plaintiff re-alleges each allegation set forth in paragraphs 1 to 53 above.

           55. Plaintiff brings this action pursuant to Ohio Revised Code Section 2307.60.

           56. Pursuant to Ohio Revised Code Section 2307.60, anyone injured in person or

property by a criininal act may recover full damages in a civil action.

           57. Plaintiff has been injured by Defendant's criininal actions.

           58. Defendant has commit4ed a criminal act pursuant to 29 U.S.C. Sections 660

and 666.

           59. Defendant has committed a criminal act pursuant to Ohio Revised Code

Section 2921.03 by intimidating a witness, nainely Plaintiff by, inter alia, telling him not to

talk to the EPA.

           60. Defendant has committed a criminal act pursuant to Ohio Revised Code

Section 2923.03 by aiding or abetting violations of OSHA statutes and regulations and Ohio

statutes (such as Ohio Revised Code Chapter 3704) concerting air pollution.




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                61. Defendant acted with actual malice, entitling Plaintiff to punitive damages and

    is attorney's fees and costs.

        WHEREFORE, Plaintiff demands judgment against Defendants for his lost wages,

reinstatement or front pay, lost fringe benefits, non-econoinic damages such as emotional pain,

suffering, inconvenience, physical anguish, and loss of enjoyment of life, any other

compensatory damages, punitive damages, prejudgment interest at the statutory rate, post-

judgment interest, attorney's fees and costs, and all other relief to which he is entitled.

       JURY TRIAL DEMANDED.


                                                       Respectfully submitted,

                                                       /s/ Brad Levine
                                                       Stephan I. Voudris, Esq.
                                                       Supreme Court No. 0055795
                                                       Brad Levine, Esq.
                                                       Supreme Court No. 0090286
                                                       Voudris Law LLC
                                                       8401 Chagrin Road, Suite 8
                                                       Chagrin Falls, OH 44023
                                                       svoudris@voudrislaw.com
                                                       blevine@voudrislaw.com
                                                       440-543-0670
                                                       440-543-0721 (fax)
                                                       Counsel for Plaintiff




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                                  ENVIROTEST SYSTEMS CORP           ~ ~~~~~
                                  VIA REGISTERED AGENT               o
                                  CORPORATION SERVICE COMPANY
                                  50 WEST BROAD STREET SUITE 1330
                                  COLUMBUS, OH 43215




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 20M000547 GUNTRAM KIPARSKIS, RAMUTIS et al VS . ENVIROTEST SYSTEMS CORP CJP

   Case Type:
   OTHER CIVIL (M)
   Case Status:
   Open
   File Date:
   09/04/2020
   Action:
   OTHER CIVIL
   Status Date:
   09/04/2020
   Case Judge:
   PASCHKE, CAROLYN J
   Next Event:




   All Information   Party   Docket   Financial   Receipt   Disposition


      Party Information
      GUNTRAM KIPARSKIS, RAMUTIS
      - PLAINTIFF

     Disposition                                        Address                             Alias
                                                        17750 GAR HWY
     Disp Date                                          MONTVILLE, OH 44064                 Party Attorney
                                                                                            Attorney
                                                                                            LEVINE, BRADLEY
                                                                                            Address
                                                                                            VOUDRIS LAW
                                                                                            8401 CHAGRIN RD SUITE 8
                                                                                            CHAGRIN FALLS, OH 44023
                                                                                            Phone
                                                                                            (440)543-0670

      KIPARSKIS, RAMUTIS
      - PLAINTIFF

     Disposition                                        Address                             Alias
     Disp Date                                          Party Attorney


      ENVIROTEST SYSTEMS CORP
      - DEFENDANT

     Disposition                                        Address                             Alias

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11/3/2020                             Case: 1:20-cv-02485-PAG Doc #: Details
                                                                Case 1-2 -Filed:    11/03/20
                                                                             Geauga County Clerk of13  of 15. PageID #: 20
                                                                                                    Courts
     Disp Date                                     VIA REGISTERED AGENT                     Party Attorney
                                                   CORPORATION SERVICE COMPANY
                                                   50 WEST BROAD STREET SUITE 1330
                                                   COLUMBUS, OH 43215




      Docket Information
      Date       Docket Text                                                                                                                   Amount Image
                                                                                                                                                Owed Avail.
      09/04/2020 DEPOSIT ON CIVIL CASE: MADE BY VOUDRIS LAW LLC / ATTY FOR PLNTF Receipt: 138461 Date: 09/04/2020                               $118.00
      09/04/2020 INITIAL FILING FEES FOR CIVIL CASES Receipt: 138461 Date: 09/04/2020                                                           $147.00
      09/04/2020 COMPLAINT FOR RETALIATION IN VIOLATION OF THE OHIO WHISTLEBLOWER ACT WRONGFUL DISCHARGE NEGLIGENT TRAINING                      $25.00     Image
                 RETENTION & SUPERVISION AND DAMAGES FOR A CRIMINAL ACT FILED. JURY DEMAND ENDORSED HEREON
                 Attorney: LEVINE, BRADLEY (0090286)
      09/08/2020 SUMMONS AND COMPLAINT SENT                                                                                                       $6.00     Image

                 SUMMONS - CIVIL - FX
                 Sent on: 09/08/2020 09:29:50.86
      09/23/2020 Unclaimed Tracking:F000002814 Fedex Tracking:396588321367
      09/24/2020 UNSUCCESSFUL SERVICE - NOTICE OF FAILURE OF SERVICE SENT TO ATTY BRADLEY LEVINE RE: ENVIROTEST SYSTEMS CORP                      $6.55     Image
                 (N) NOTICE OF FAILURE OF SERVICE
                 Sent on: 09/24/2020 09:18:47.83
      10/01/2020 INSTRUCTIONS FOR SERVICE FILED. (CERTIFIED MAIL)                                                                                           Image
                 Attorney: LEVINE, BRADLEY (0090286)
      10/01/2020 SUMMONS AND COMPLAINT RESENT                                                                                                     $6.00     Image



      10/01/2020 Issue Date: 10/01/2020                                                                                                          $11.00     Image
                 Service: SUMMONS WITH COMPLAINT
                 Method: CERTIFIED MAIL - CP
                 Cost Per: $11.00


                   ENVIROTEST SYSTEMS CORP
                   VIA REGISTERED AGENT
                   CORPORATION SERVICE COMPANY
                   50 WEST BROAD STREET SUITE 1330
                   COLUMBUS, OH 43215
                   Tracking No: 9414726699042161206609




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11/3/2020                               Case: 1:20-cv-02485-PAG Doc #: Details
                                                                  Case 1-2 -Filed:    11/03/20
                                                                               Geauga County Clerk of14  of 15. PageID #: 21
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      Date          Docket Text                                                                                                                               Amount Image
                                                                                                                                                               Owed Avail.
      10/13/2020 SUCCESSFUL SERVICE - ENVIROTEST SYSTEMS CORP                                                                                                             Image
                  Method : CERTIFIED MAIL - CP
                  Issued : 10/01/2020
                  Service : SUMMONS WITH COMPLAINT
                  Served : 10/07/2020
                  Return : 10/13/2020
                  On     : ENVIROTEST SYSTEMS CORP
                  Signed By : DEANNA E SCHAUSELL

                     Reason : SUCCESSFUL SERVICE
                     Comment :

                     Tracking #: 9414726699042161206609




      Financial Summary
      Cost Type                                                          Amount Owed                  Amount Paid               Amount Adjusted               Amount Outstanding
      CONVENIENCE FEE - PAYPAL                                                  $8.22                           $8.22                         $0.00                        $0.00
      COST                                                                    $216.55                       $147.00                           $0.00                       $69.55
     Total                                                Total                         Total                           Total                         Total
                                                                             $224.77                       $155.22                        $0.00                          $69.55

      Money on Deposit with the Court
      Account                                                                                                                                                     Applied Amount
      OPEN ITEMS                                                                                                                                                           $0.00
     Total                                                                             Total
                                                                                                                                                                          $0.00




      Receipts
      Receipt Number                               Receipt Date                                Received From                                                     Payment Amount
      138461                                       09/04/2020                                  Bradley Levine                                                            $273.22
     Total                                        Total                                    Total                                      Total
                                                                                                                                                                        $273.22




      Case Disposition
      Disposition                                                 Date                     Case Judge
      UNDISPOSED                                                                           PASCHKE, CAROLYN J

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